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                                                                           U.S. DISTRICT COURT
                                                                               N.D. OF ALABAMA


        IN THE UNITED STATES DISTRICT COURT NORTHERN DISTRICT OF
                       ALABAMA SOUTHERN DIVISION


Milligan et al.

Plaintiffs,


v.


Merrill et al.

Defendents.



                          REBUTTAL EXPERT REPORT
                              Kosuke Imai, Ph.D.
                              December 20, 2021
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I.     INTRODUCTION AND SCOPE OF WORK
       1.       My name is Kosuke Imai, Ph.D., and I am a Professor in the Department of Gov-
ernment and the Department of Statistics at Harvard University. I specialize in the development
of statistical methods for and their applications to social science research. I am also affiliated
with Harvard’s Institute for Quantitative Social Science. My qualifications and compensation are
described in my initial report.
       2.       I understand from Plaintiffs’ counsel that one of Defendants’ experts offered the
opinion that Mobile and Baldwin Counties are communities of interest and should not be divided
across congressional districts. I also understand from Plaintiffs’ counsel that there is evidence
supporting the Black Belt, as defined below, as a community of interest. I express no opinions on
these issues.
       3.       I have been asked by Plaintiff’s counsel to re-run my “one-MMD (majority-
minority district) simulation” from my initial report with additional weighting that encourages the
algorithm to keep Mobile/Baldwin and the Black Belt together and to examine the likely effect on
the range of black voting-age population (BVAP) proportion of non-MMD districts, particularly
District 2. The original one-MMD simulation I conducted for my initial report generated 10,000
alternative plans, each of which was designed to have exactly one MMD with the proportion of
black voting-age population (BVAP) ranging from 50% to 51%. The other six districts of each
simulated plan were generated without any consideration of race. This time, however, I instructed
the algorithm to generate, with a high probability, plans which keep Mobile and Baldwin Counties
together and the Black Belt together. Other than this additional weight, the new one-MMD
simulation procedure I employed is identical to the one used in my initial expert report. Like the
original one-MMD simulation, my new 10,000 simulated plans are, on average, more compact
and have no more county splits than the enacted plan.




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II.      SUMMARY OF OPINIONS
         4.       The comparison of the new one-MMD simulated plans with the enacted plan yields
the following findings: the district with the second highest BVAP proportion in simulated plans
achieves, on average, 6.2 percentage points higher BVAP proportion than the enacted plan. This
difference is statistically significant using the conventional standard. The new one-MMD simu-
lations generated many more plans with a greater BVAP proportion for the second highest BVAP
district than my initial one-MMD simulation, which did not encourage the algorithm to avoid split-
ting Mobile/Baldwin Counties and the Black Belt.
         5.       My simulation analyses, therefore, provide evidence that race was a significant fac-
tor in drawing the enacted plan, and that, taking into account the identified communities of interest,
the enacted plan is still an outlier in terms of how it cracks the Black community.


III.     METHODOLOGY
         6.       The simulation procedure used for this report is identical to that of the one-MMD
simulation from my initial report with the exception of one additional weighting I added to dis-
courage the simulation algorithm from splitting Mobile and Baldwin Counties as well as the Black
Belt. I was instructed by Plantiffs’ counsel to use the following set of counties for the Black Belt:
Barbour, Bullock, Butler, Choctaw, Clarke, Conecuh, Crenshaw, Dallas, Escambia, Greene, Hale,
Lowndes, Macon, Marengo, Monroe, Montgomery, Perry, Pickens, Pike, Russell, Sumter, Wash-
ington, and Wilcox Counties. As standard in the literature, I used the so-called Gibbs measure
to incorporate this constraint into the simulation algorithm (Autry et al. 2020; Carter et al. 2019;
McCartan and Imai 2020; Kenny et al. 2021).1 One MMD whose BVAP proportion is between
50% and 51% was generated for each simulated plan in the exactly same manner as done in the
one-MMD simulation for my initial report. Finally, I used the same data set as the one analyzed in
my initial report.


   1. Specifically, I used the indicator variable for splitting each of these two county clusters with a penalty weight of
25.



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                                    15.0%
      Fraction of Simulated Plans


                                    10.0%




                                     5.0%




                                     0.0%
                                                                  32                        36                        40
                                                                       Second Highest BVAP %

Figure 1: The second highest Black voting age population (BVAP) proportion (after the simu-
lated majority-minority district) in each simulated plan. The vast majority of simulated plans have
greater BVAP than the enacted (red).


IV.                                 EVALUATION OF THE ENACTED PLAN
                                    7.      Using the redistricting simulation methodology described above, I evaluate evi-
dence regarding whether race was a primary factor in drawing the enacted plan. In Appendix A, I
demonstrate that the simulated plans are on average at least as compact as the enacted plan based
on the standard compactness measures. Appendix B further shows that all of the simulated plans
have fewer than or equal to the number of county splits the enacted plan does. In addition, like the
original one-MMD analysis conducted for my initial report, all simulated plans have at most one
incumbent located in any given district.
                                    8.      I can easily generate additional plans by running the algorithm longer, but for the
purpose of my analysis, 10,000 simulated plans for each set will yield statistically precise conclu-
sions. In other words, generating more than 10,000 plans, while possible, will not materially affect
the conclusions of my analysis.
                                    9.      Figure 1 shows the distribution of BVAP proportion for the district that has the sec-
ond highest BVAP proportion under each simulated plan. Note that under more than 99% of the
simulated plans, District 2 has the second highest BVAP proportion. When compared to the en-

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acted plan (represented by the red dashed line), under the simulated plans, this district has a much
higher BVAP proportion with a maximum value of 39.9%. Although all of non-MMD districts
were generated without using any information about race, the simulation plan has, on average,
the second highest district-level BVAP proportion at 36.3%, which is 6.2 percentage points higher
than the corresponding BVAP proportion under the enacted plan (30.1%). Only 3% of the simu-
lated plans have the second highest district-level BVAP proportion to be less than the one for the
enacted plan. In other words, this difference between the simulated plans and the enacted plan is
statistically significant.
        10.     When compared to the original one-MMD simulation reported in my initial report,
this new one-MMD simulation generated many more plans with a greater BVAP proportion for
the second highest district-level BVAP proportion. This implies that keeping Mobile and Baldwin
Counties together and the Black Belt together is likely to significantly increase the second highest
district-level BVAP proportion.




Pursuant to 28 U.S.C. § 1746, I hereby declare under penalty of perjury that the forgoing is true
and correct:
Executed, this day, December 20, 2021, in Cambridge, Massachusetts.


________________________________________
Kosuke Imai, Ph.D.




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                                    100%                                                                    60%
      Fraction of Simulated Plans




                                                                              Fraction of Simulated Plans
                                    75%
                                                                                                            40%

                                    50%

                                                                                                            20%
                                    25%


                                     0%                                                                     0%
                                              0         1    2        3                                            4         5         6
                                                     County Splits                                                     County Splits
                                                  in Simulated MMDs                                               in Simulated Final Plans


Figure 3: The number of county splits in each simulated majority-minority district (left) and in the
complete simulated plans (right). All simulated plans used in the analysis have the same number
or fewer splits than the enacted plan (red).


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